      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 1 of 8



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18
                                UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
20
     NAVCOM TECHNOLOGY, INC.; and             Case No. 5:12-cv-04175 EJD
21   DEERE & COMPANY,
22                                             DECLARATION OF MARC R.
                           Plaintiffs,         LABGOLD IN SUPPORT OF OKI
23                  v.                         ELECTRIC INDUSTRY CO. LTD.’S
                                               BILL OF COSTS
24   OKI ELECTRIC INDUSTRY CO., LTD,
25                         Defendants.
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     5:12-cv-04175 EJD                                DECLARATION OF MARC R. LABGOLD
                                                            IN SUPPORT OF OKI ELECTRIC
                                                       INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 2 of 8



 1           I, Marc R. Labgold, hereby declare under penalty of perjury:
 2           1.      I am an attorney at Nagashima, Hashimoto, & Yasukuni, and represent Oki
 3   Electric Industry Co., Ltd. (“Oki Electric”) in the above-captioned action. I have personal
 4   knowledge of the facts set forth herein and, if called and sworn as a witness, would be competent
 5   to testify thereto.
 6           2.      I submit this Declaration in support of Oki Electric’s Bill of Costs. I have personal
 7   knowledge of the facts stated in this Declaration, and I would testify to them if called as a
 8   witness.
 9           3.      I have reviewed the costs set forth in the attached exhibits and Oki Electric’s Bill
10   of Costs. They are correctly stated, were necessarily incurred, and are allowable by law.
11           4.      Plaintiff brought this action for breach of contract. (See Dkt. No. 1, Ex. 1, at ¶ 1
12   (stating that this is an action for breach of contract)). The contract at issue states:
13                   “the prevailing party shall be entitled to reasonable attorney’s
14                   fees, and all costs associated therewith . . . .”          (PX-125 at
15                   OKI_LW_008274) (emphasis added).
16   Oki Electric was the prevailing party, and is entitled to ALL of its costs. (D.I. 413 at 3 “Having
17   prevailed at trial and on appeal, Defendant is unquestionably the prevailing party . . .”). The
18   services for which fees have been charged were actually and necessarily performed.
19           5.      Certain of the attached exhibits have been redacted to exclude financial account
20   numbers under Federal Rule of Civil Procedure 5.2 and other confidential information.
21           6.      Attached as Exhibit A is a true and correct copy of supporting documentation for
22   costs associated with filing fees and docket fees. Recovery of filing fees is provided by Local
23   Rule 54-3(a)(1) and 28 U.S.C. § 1920(1), and has been permitted by the Court. See, e.g., Frlekin
24   v. Apple Inc., 2016 U.S. Dist. LEXIS 8396, at *11 (N.D. Cal. Jan. 25, 2016) (allowing recovery of
25   pro hac fee and other filing fees under Local Rule 54-3(a)(1)). The notice of removal and pro hac
26   filing fees were advanced by a vendor or counsel and charged to Oki Electric.
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     5:12-cv-04175 EJD                                               DECLARATION OF MARC R. LABGOLD
                                                      1                    IN SUPPORT OF OKI ELECTRIC
                                                                      INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 3 of 8



 1          7.      Attached as Exhibit B is a true and correct copy of supporting documentation for
 2   costs associated with court transcripts. Recovery of the cost of trial transcripts is allowed under
 3   Local Rule 54-3(b) and 28 U.S.C. § 1920, and has been permitted by the Court. See, e.g., Apple
 4   Inc. v. Samsung Elecs. Co., 113 U.S.P.Q.2D (BNA) 1996, 1999, 2014 U.S. Dist. LEXIS 132830,
 5   at *75 (N.D. Cal. September 19, 2014) (“Apple I”) (permitting recovery of the cost of a trial
 6   transcript). The trial transcripts were necessarily obtained for use in the case, including in post-
 7   trial motion briefing and in the subsequent appeal that was filed by Plaintiffs. See Local Rule 54-
 8   3(b) (“The cost of transcripts necessarily obtained for an appeal is allowable”). The Court has
 9   permitted recovery of real-time costs for trial transcripts where “they were necessary to avoid
10   delay of objections and motions during trial, and because the transcripts were used for briefing
11   and motions for judgment as a matter of law.” Newton v. Equilon Enters., LLC, C.A. No. 17-cv-
12   3961-YGR, 2019 U.S. Dist. LEXIS 159997, at *53 (N.D. Cal. Sep. 18, 2019) (citing Golden
13   Bridge Tech. v. Apple Inc., C.A. No. 5:12-cv-04882-PSG, 2015 U.S. Dist. LEXIS 170424, at *6
14   (N.D. Cal. Dec. 21, 2015) (permitting recovery of real-time transcripts)). Here, the parties sought
15   real-time and hourly transcripts both to immediately raise objections and for the purpose of filing
16   motions during trial. See, e.g., Trial Transcript (“Tr.”) at 1236:21-1239:6 (the Court and the
17   parties used real-time to resolve an objection by Oki Electric, where the Court asked Oki Electric
18   “Do you have realtime going? . . . I can look at your real-time,” and then reviewed the real-time
19   transcript before resolving the objection); Dkt. No. 300 (Oki Electric’s Rule 50(a) motion, filed
20   during trial and included dozens of citations to transcript testimony from the in-progress trial).
21          8.      Attached as Exhibit C is a true and correct copy of supporting documentation for
22   costs associated with deposition transcripts and video recording.         Recovery of the cost of
23   deposition transcripts is allowed under Local Rule 54-3(c)(1) and 28 U.S.C. § 1920(2), and has
24   been permitted by the Court. Hynix Semiconductor Inc. v. Rambus Inc., 697 F. Supp. 2d 1139,
25   1151 (N.D. Cal. 2010).
26          9.      Attached as Exhibit D1 is a true and correct copy of supporting documentation for
27   costs associated with disclosure and discovery documents. Recovery of costs associated with
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     5:12-cv-04175 EJD                                              DECLARATION OF MARC R. LABGOLD
                                                    2                     IN SUPPORT OF OKI ELECTRIC
                                                                     INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 4 of 8



 1   disclosure and discovery documents is allowed under Local Rule 54-3(d)(2) and 28 U.S.C.
 2   § 1920(4), and has been permitted by the Court. See, e.g., Slaight v. Tata Consultancy Servs.,
 3   C.A. No. 15-cv-01696-YGR, 2019 U.S. Dist. LEXIS 141425, at *8-12 (N.D. Cal. Aug. 20, 2019);
 4   Apple I, 2014 U.S. Dist. LEXIS 132830 at *88 (noting that “courts in the Northern District
 5   routinely award ediscovery costs that are analogous to ‘making copies,’ as opposed to costs
 6   incurred for the parties’ convenience or attributable to the ‘intellectual effort’ involved in
 7   document production.”).      Recoverable costs include those for tasks including “OCR of
 8   documents, TIFF conversion, processing of native files, endorsing images, and branding” of files
 9   “with unique sequential production numbers and confidentiality designations.” Slaight, 2019
10   U.S. Dist. LEXIS 141425 at *8-9 (quotation marks and citations omitted); Ebay Inc. v. Kelora
11   Sys., LLC, C.A. No. C 10-4947 CW (LB), 2013 U.S. Dist. LEXIS 49835, at *25-26 (N.D. Cal.
12   Apr. 5, 2013) (awarding costs for “scanning paper documents, electronic scanning and conversion
13   to PDF, TIFF conversion, OCR, image endorsement/Bates stamping, slip sheet preparation,
14   blowback scanning paper documents, media hardware used for production, electronically
15   stamping Bates numbers, slipsheet preparation, blowback preparation, and OCR conversion”).
16   Such costs “are not limited to documents introduced into the record or at a hearing or trial and
17   instead are allowed for ‘the cost of reproducing disclosure or formal discovery documents when
18   used for any purpose in the case.’” Id. (quoting N.D. Cal. Civil L. R. 54-3(d)).
19          10.     Attached as Exhibit D2 is a true and correct copy of supporting documentation for
20   costs associated with trial exhibits. Recovery of the cost of reproduction of trial exhibits is
21   allowed under Local Rule 54-3(d) and 28 U.S.C. § 1920(4), and has been permitted by the Court.
22   See Apple Inc. v. Samsung Elecs. Co., C.A. No. 5:12-CV-00630-LHK, 2015 U.S. Dist. LEXIS
23   111276, at *114 (N.D. Cal. Aug. 20, 2015) (“Apple II”) (holding that costs for exhibits and
24   witness binders are recoverable, collecting authority, and noting that “[r]ecovery for trial exhibits
25   has been routinely permitted by courts in this district” and that “courts in this district have
26   allowed recovery of costs associated with creating witness binders”); Golden Bridge Tech. v.
27   Apple Inc., C.A. No. 5:12-cv-04882-PSG, 2015 U.S. Dist. LEXIS 170424, at *7 (N.D. Cal. Dec.
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     5:12-cv-04175 EJD                                             DECLARATION OF MARC R. LABGOLD
                                                    3                    IN SUPPORT OF OKI ELECTRIC
                                                                    INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 5 of 8



 1   21, 2015) (permitting recovery of costs associated with trial exhibits and witness binders). The
 2   costs in Exhibit D2 also include the costs for witness binders containing the exhibits. The witness
 3   binders were necessarily obtained in order to permit examination of the witnesses and to ensure
 4   the efficient conduct of trial, and they are recoverable even if certain portions were not ultimately
 5   used. See Apple II, 2015 U.S. Dist. LEXIS 111276 at *112-14 (holding that a party “may recover
 6   the full amount for . . . witness binders, and is not limited to recovering only for exhibits actually
 7   used.”). To the extent that the witness binder costs are not recoverable under Local Rule 54-
 8   3(d)(4), they are permitted under Local Rule 54-3(d)(5), and Oki Electrics also requests recovery
 9   on that grounds. Id.
10          11.     Attached as Exhibit D3 is a true and correct copy of supporting documentation for
11   costs associated with visual aids. Recovery of the cost of creating and presenting visual aids is
12   allowed under Local Rule 54-3(d)(5) and 28 U.S.C. § 1920, and has been permitted by the Court.
13   See, e.g., Slaight, 2019 U.S. Dist. LEXIS 141425 at *23; Apple II, 2015 U.S. Dist. LEXIS 111276
14   at *103-05; Competitive Techs. v. Fujitsu Ltd., C.A. No. C-02-1673 JCS, 2006 U.S. Dist. LEXIS
15   98312, at *27-28 (N.D. Cal. Aug. 23, 2006). “Civil Local Rule 54-3(d) allows recovery for
16   materials ‘to be used’ at trial and does not require actual use of each item so prepared.” Apple II,
17   2015 U.S. Dist. LEXIS 111276 at *104. Recovery has also been permitted for “on-site support”
18   by a trial graphics provider and the equipment used to present the graphics. See, e.g., Golden
19   Bridge Tech., 2015 U.S. Dist. LEXIS 170424 at *8 (allowing recovery of costs for the preparation
20   of trial graphics and demonstratives, and the “‘in-court technician time and the equipment’
21   necessary to present the demonstratives”).         Oki Electric seeks recovery of the actual costs
22   invoiced by the vendor who created and presented the visual aids in anticipation of use at trial,
23   not fees for the intellectual efforts of the attorneys in determining content. This was a complex
24   litigation involving technical and contractual issues relating to semiconductor chips, ASIC
25   manufacture, and numerous documents, and it was reasonably necessary for the parties to
26   present evidence and argument in the form of demonstratives to assist the jury. See Golden
27   Bridge Tech., 2015 U.S. Dist. LEXIS 170424 at *8 (providing for recovery of costs for trial
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     5:12-cv-04175 EJD                                              DECLARATION OF MARC R. LABGOLD
                                                    4                     IN SUPPORT OF OKI ELECTRIC
                                                                     INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 6 of 8



 1   graphics and demonstratives in a “complex litigation that require[d] high-quality demonstratives
 2   for the edification of the jury” (quotation marks and citation omitted)). Oki Electric also seeks
 3   recovery for deposition clip reports, including those admitted as exhibits in this action. A portion
 4   of the costs associated with visual aids are not recoverable under the local rules. Accordingly, Oki
 5   Electric has reduced the total amount invoiced by approximately 35% to account for non-
 6   recoverable costs.
 7          12.     Attached as Exhibit E is intentionally omitted so that the exhibit numbers
 8   correspond to the items listed on Clerk’s office Form CAND 133.
 9          13.     Attached as Exhibit F is a true and correct copy of supporting documentation for
10   costs associated with interpretation and translation. The cost of interpretation and translation is
11   allowed under 28 U.S.C. § 1920(6), and has been permitted by the Court. Hynix Semiconductor,
12   697 F. Supp. 2d at 1150 (“The cost of translation is taxable where reasonably necessary.”);
13   Competitive Techs., 2006 U.S. Dist. LEXIS 98312 at *33-34 (“The most reasonable interpretation
14   of § 1920(6) is one which includes translation fees.”). Mr. Yazaki’s services as an interpreter
15   were necessarily incurred. Mr. Yazaki’s services were necessary for Oki Electric’s English-
16   speaking attorneys to communicate with witnesses, and he also served as both a check translator
17   and an affirmative interpreter at trial. This case involved complex technical subject matter in the
18   area of semiconductors and application-specific integrated circuits (“ASICs”). An interpreter with
19   experience in those areas is necessary to ensure that the complex technical- and contract-related
20   subject matter at issue was properly translated between English and Japanese. Additionally,
21   services as a check translator are recoverable cost if necessarily incurred, and Oki Electric needed
22   a check translator due to the complex technical nature of the language at issue, and because Oki
23   Electric and its English-speaking attorneys could not rely on Plaintiffs to provide a translator with
24   the proper experience. See Apple I, 2014 U.S. Dist. LEXIS 132830 at *95 (noting that check
25   translator fees could be recoverable if necessarily incurred).    Mr. Yazaki, the only interpreter
26   whose fees are sought, has significant experience in interpretation and translation in the fields of
27   electronics, semiconductors, and ASICs.       His services were necessarily incurred to prevent
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     5:12-cv-04175 EJD                                             DECLARATION OF MARC R. LABGOLD
                                                    5                    IN SUPPORT OF OKI ELECTRIC
                                                                    INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 7 of 8



 1   mistranslations or incorrect interpretations of that complex subject matter, and due in part to his
 2   specific expertise, it was also reasonably necessary for him to travel to the locations of the
 3   depositions and trial. See Hynix Semiconductor, 697 F. Supp. 2d at 1155 (permitting recovery of
 4   “all of the expenses billed by the interpreter and paid by the party for the interpreter’s services,
 5   including reasonable travel expenses, parking, and meals that were reasonably necessary in
 6   connection with the provision of services.”).
 7          14.     Attached as Exhibit G is a true and correct copy of an itemized summary of
 8   taxable costs incurred by Defendants in this case, which also lists authority in support of
 9   allowance of the costs.
10          I declare under penalty of perjury under the laws of the United States of America that the
11   foregoing is true and correct.
12

13   Dated: October 4, 2019                              NAGASHIMA & HASHIMOTO
14                                                       By: /s/ Marc R. Labgold
                                                             Marc R. Labgold
15
                                                         Counsel for Defendant
16                                                       Oki Electric Industry Co., Ltd.
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     5:12-cv-04175 EJD                                             DECLARATION OF MARC R. LABGOLD
                                                     6                   IN SUPPORT OF OKI ELECTRIC
                                                                    INDUSTRY CO. LTD.’S BILL OF COSTS
      Case 5:12-cv-04175-EJD Document 421-1 Filed 10/04/19 Page 8 of 8


                                              ATTESTATION
 1
            I, Andrew E. Russell, the CM/ECF filer of this document, attest that concurrence in the
 2
     filing of the document has been obtained from each of the other signatories listed above.
 3
            I declare under penalty of perjury under the laws of the United States of America that the
 4
     foregoing attestation is true and correct.
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 6
     Dated: October 4, 2019                            SHAW KELLER LLP
 7
                                                       By: /s/ Andrew E. Russell
 8
                                                           Andrew E. Russell
 9
                                                       Counsel for Defendant
10                                                     Oki Electric Industry Co., Ltd.

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     5:12-cv-04175 EJD                                            DECLARATION OF MARC R. LABGOLD
                                                   7                    IN SUPPORT OF OKI ELECTRIC
                                                                   INDUSTRY CO. LTD.’S BILL OF COSTS
